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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BERKELEY VENTURES IL, LLC,
Plaintiff.

| Case Na.: 1:19-CV-05523-SDG

STONIC MOBILE CORPORATION |
and RONALD D. HERMAN

Detendants.

 

 

 

PLAIN TIFE’S MOTION TO ADD MR. PATRICK GAHAN
AS A PARTY DEFENDANT

COMES NOW Plaintiff Berkeley Ventures I, LLC (“Plaintiff’) and
under the Federal Rules of Civil Procedure Rules 15, 19 and/or 21 hereby
moves this Court to add Mr, Patrick Gahan as a party Defendant to this
action. According to the cited Rules, Plaintiff seeks leave to file an
Amended Pleading adding Mr, Patrick Gahan as a party Defendant. that said
Amended Pleading by allowed by this Court and that this Court authorize
service of said Amended Pleading upon Mr. Gahan.

A copy of Plaintiffs Motion to Add Mr. Gahan is attached hereto and
incorporated as Exhibit A to this Motion. A brief in support of said Motion
is also included for this Court’s consideration. The Plaintiff shows that new
information has come to light during initial discovery in this matter showing
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that Mr. Gahan was much more involved in the fraud which led to Plaintiff's
injuries. Plaintiff can and will show that Mr. Gahan’s inclusion as a party
Defendant in this action is necessary in order to afford Plaintiff with
complete relief and does not operate to deprive this Court of subject matter
jurisdiction. ‘This Motion is being brought shortly atter discovery of new
facts and will not unfairly prejudice the existing Defendants, nor Mr. Gahan.
For the reasons set forth herein (and the accompanying Brief) Plaintiff
respectfully requests that this Court use its wide discretion and add Mr.

Gahan as a party Defendant to this matter,

This the day of June, 2021.

GODWIN LAW GROUP

/s/ Jason B. Godwin
Jason B. Godwin
Georgia Bar No. 142226

3985 Steve Reynolds Boulevard
Building D

Norcross, Georgia 30093
Phone: 770-448-9925

Fax: 770-448-9958
jgodwinf@godwinlawgroup.com
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BERKELEY VENTURES IL, LLC,

Plaintiff.

Case No.: 1:19-CV-05523-SDG
SIONIC MOBILE CORPORATION
and RONALD D. HERMAN |

Defendants.

CERTIFICATE OF COMPLIANCE WITH L.R. 7.1, N.D. GA.
The undersigned hereby certifies that this pleading was prepared using
one of the font and point selections approved by this Court in L.R. 5.1
N.D. Ga. Specifically, Times New Roman font in 14 point.

By: “s/ Jason B. Godwin
Jason B. Godwin, Esq.
Georgia Bar No. 14222
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BERKELEY VENTURES II, LLC.
Plaintiff.
| Case No.: 1:19-CV-05523-SDG

SIONIC MOBILE CORPORATION |
and RONALD D. HERMAN

Defendants,

CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the
foregoing PLAINTIFF'S RESPONSE TO DEFENDANT SIONIC
MOBILE CORPORATION’S MOTION TO ADD by depositing a copy
of same simultaneously with the initial complaint in this matter with
delivery to the following:

Simon Jenner
Adam Ford
210 Interstate North Parkway, SE
Suite 100
Atlanta, Georgia 30339

«oes
Submitted this 1B day of June, 2021.
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GODWIN LAW GROUP

is/ Jason B. Godwin
Jason B. Godwin
Georgia Bar No, 142226

 

3985 Steve Reynolds Boulevard
Building D

Norcross, Georgia 30093
Phone: 770-448-9925

lax: 770-448-9958
jgodwinfwsodwinlaweroup.com
